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                                                     October 8, 2024

VIA ECF
Hon. Leda Dunn Wettre, U.S.M.J.
United States District Court
District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07102

       Re: United States v. Apple Inc., Case No. 2:24-cv-04055 (JXN-LDW)

Dear Judge Wettre:

        This firm represents nonparty Microsoft Corp. (“Microsoft”) in the above-referenced
matter. Pursuant to Local Civil Rule 101.1(c), Microsoft submits this informal application for the
pro hac vice admission of Aaron M. Panner and Alex A. Parkinson of the law firm Kellogg,
Hansen, Todd, Figel & Frederick, P.L.L.C. in this matter. Plaintiffs and Defendant have
consented to their pro hac vice admission in this litigation.

       In support of the application, enclosed please find the following:
           • Certification of Aaron M. Panner
           • Certification of Alex. A. Parkinson
           • Certification of Keith J. Miller in support of the application for the pro hac vice
              admission; and
           • Proposed Consent Order Granting pro hac vice admission.

        Should the enclosed proposed form of Order meet with Your Honor’s approval, we
respectfully request that it be entered. Of course, should Your Honor or Your Honor’s staff have
any questions regarding the within informal application, please do not hesitate to contact us.

                                                     Respectfully submitted,

                                                     s/ Keith J. Miller
                                                     Keith J. Miller


cc:    All counsel of record (via ECF)
